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2                   FOR THE NORTHERN DISTRICT OF NEW YORK
3                                  ---oOo---
4
5       NIKE, INC.,                        )
                                           )
6                    Plaintiff,            )
                                           )
7       vs.                                )    No. 1:22-cv-00983-VEC
                                           )
8       STOCKX LLC,                        )
                                           )
9                    Defendant.            )
        __________________________)
10
11
12                   H I G H L Y      C O N F I D E N T I A L
13                       OUTSIDE ATTORNEYS' EYES ONLY
14       STOCKX 30(b)(6) VIDEOTAPED DEPOSITION OF BROCK HUBER
15                            SAN FRANCISCO, CALIFORNIA
16                        WEDNESDAY, FEBRUARY 22, 2023
17
18
19
20
21      STENOGRAPHICALLY REPORTED BY:
22      ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR ~
23      CSR LICENSE NO. 9830
24      JOB NO. 5688666
25

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1                       UNITED STATES DISTRICT COURT
2                   FOR THE NORTHERN DISTRICT OF NEW YORK
3                                   ---oOo---
4
5
        NIKE, INC.,                       )
6                                         )
                     Plaintiff,           )
7                                         )
        vs.                               )    No. 1:22-cv-00983-VEC
8                                         )
        STOCKX LLC,                       )
9                                         )
                     Defendant.           )
10      __________________________)
11
12
13
14                  StockX 30(b)(6) Videotaped Deposition of
15            Brock Huber, taken on behalf of the Plaintiff,
16            Pursuant to Notice, on Wednesday, February 22,
17            2023, beginning at 8:40 a.m., and ending at
18            4:43 p.m., before me, ANDREA M. IGNACIO, CSR, RPR,
19            CCRR, CRR, CLR ~ License No. 9830.
20
21
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23
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25

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1             A     You know, if you -- if you wanted to review
2       any of the financial statements we provided in
3       specific detail, I'd be happy to do that.
4




10            Q     Okay.     When a seller has a product rejected
11      because it is determined to be inauthentic, what is
12      that seller told about the product it attempted to
13      sell?
14                  MS. BANNIGAN:      Objection to form.
15                  THE WITNESS:      I think -- I think there's
16      generally a misunderstanding.                And -- and -- and for
17      sure I saw this when we would talk, as an example,
18      with the investor community around our verification
19      process.
20                  So our verification process -- well, it's
21      actually probably easier to take a step back at sort
22      of the history of marketplaces to begin with.
23                  So prior to the founding of StockX, it was
24      very difficult to transact in limited edition
25      sneakers, other collectibles, in a safe way.

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1                   And, you know, speaking -- this is my own
2       personal experience as someone who was interested in
3       the stuff since I was in middle school and high
4       school.
5                   You know, we -- we had to -- people who are
6       interested in sneakers, a sneakerhead, as I identify
7       myself, we spent time on Internet forums:                  NikeTalk,
8       InStyle Shoes.
9                   And if you wanted to purchase these shoes,
10      which were primarily -- they're almost always, in all
11      cases, sold out instantly upon release -- you would
12      literally agree through private messages and, believe
13      it or not, send a money order to a stranger on the
14      Internet and hope that you were going to receive
15      product, hope the product you were going to receive
16      were -- that you received was what was promised.
17                  If you fast-forward a little bit, the early
18      iterations of marketplaces came to be.                 And those
19      marketplaces were in a posture where they would
20      remediate issues that a buyer and seller might have
21      after the fact.
22                  So if the seller and buyer agreed to a
23      transaction around a pair of Air Jordan 1s in the
24      powder blue color or whatever you want to choose as an
25      example, the seller would effectively ship whatever

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1                   MS. BANNIGAN:     Objection.
2                   THE WITNESS:     Yeah.     So again, we -- we sit
3       in the middle of every transaction.                We authenticate,
4       verify every single item that's sold on the platform.
5                   And so what that process looks like is, every
6       time a seller and a buyer agree on a price for an
7       item, that seller is then required to ship that item
8       to one of our authentication centers, which is what we
9       have always called them and which is what we call them
10      today.
11                  In that process, we have a team of highly
12      trained and technology-enabled authenticators that
13      check for a variety of factors.
14                  The most common issues we would have in the
15      authentication verification process would be that the
16      wrong item is sent in.         The item has been used prior
17      to being shipped in, and we only accept brand-new
18      items.      And we also check for discrepancies, such as
19      manufacturing defects.
20                  MS. DUVDEVANI:     Unbelievable.
21                  THE WITNESS:     We attempt to correct for items
22      that have enough variation in them that, according to
23      our standard, we think they may appear to be
24      inauthentic.
25                  And if we find an item that doesn't meet,

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1      again, the standard that we created that is our
2      standard for -- for an item being eligible to be
3      transacted on our platform, we -- our authenticator,
4      who is, you know, hands-on in their pod with that item
5      in their hands, will trouble the item.




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5                   MS. DUVDEVANI:      Q.    Do you explain why it
6       failed the inspection?
7            A      We give some level of detail, but it is not
8       always entirely specific.
9            Q      What do you mean by "some level of detail"?
10           A      We may say, as an example, "Variation in
11      materials."
12           Q      Do you give any more details than that?
13           A      Generally speaking, no.            No -- nothing too
14      specific.
15           Q      Why not?
16           A      The main takeaway when that happens is that
17      the item is not eligible to transact on our platform.
18      And the seller is notified that it's not eligible and
19      is given the opportunity to, in some cases, pay.                      In
20      other cases, we waive the fee to have that item
21      shipped back to them where it's clear it's not
22      welcomed to be transacted on our platform.




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8                   So we have heard anecdotes of folks
9       purchasing something, as an example, directly from an
10      Adidas store and coming to StockX to sell it and it
11      failing our authentication and verification process.
12                  So it is not our job, our position, our role
13      to -- when a consumer provides an item that
14      potentially may be inauthentic and is a low-volume
15      seller and what we would just call a typical consumer,
16      to confiscate that property, because we're not legally
17      designating it as a counterfeit item.
18                  We are saying, This is not welcomed to be
19      transacted in our platform.            If you'd like to pay a
20      fee, you may have your item back.
21                  MS. DUVDEVANI:     Q.    How come StockX doesn't
22      give -- well, strike that.
23                  Is it your testimony that StockX doesn't
24      provide more details about why they determine that a
25      potential product is inauthentic to the seller?

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1                   MS. BANNIGAN:     I'm just going to caution you
2       not to get into any privileged information.                    So just
3       facts.
4                   THE WITNESS:     Sure.
5                   I don't think that my list of reasons was
6       exhaustive.      I do not have, off the top of my head,
7       every code that we could potentially provide via
8       e-mail to a customer about why an item failed
9       authentication.
10                  But it is, to the best of my knowledge, that
11      we do not send an e-mail that would tell a customer
12      that their product was fake.
13                  MS. DUVDEVANI:      Q.    Why not?
14           A      Again, it's a part of our process.                The point
15      of the process is to deem items, according to our
16      standard, eligible to be traded on our platform.
17                  And if an item has characteristics that might
18      make our authentication team suspicious, we will not
19      allow it to trade.
20                  In that process, we may block items that the
21      brand, such as Nike, would call authentic.                    We may
22      also block items that Nike as a brand may call
23      inauthentic.
24           Q      How do you know what items Nike would call
25      authentic or inauthentic?

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1      how we are going to communicate with our customer
2      base, drive a good experience.




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10           Q      If StockX did not guarantee the authenticity
11      of the Nike brand products it enables the selling of,
12      would any of the costs allocated to the revenue in
13      this exhibit be avoided?
14                  MS. BANNIGAN:     Objection to form.
15                  THE WITNESS:     As a general response that I
16      believe answers your question, StockX has invested
17      hundreds of millions of dollars to the development of
18      and execution of our proprietary authentication and
19      verification process.
20                  Prior to our existence, there was no scaled
21      or reputable marketplace player that conducted
22      authentication and verification for every product that
23      sold on its marketplace.
24                  And due to the experience that we provided,
25      we have lifted the level of competition around us, and

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1       other marketplaces have begun to offer a competing
2       service that presumes to identify -- or to
3       authenticate and verify items sold on their platform.
4                   So the overall impact of StockX relative to
5       consumer fraud and the buying and selling of items
6       that may appear to be inauthentic has been improved by
7       our existence.
8                   We have made it more difficult for bad actors
9       to exist.      We have helped lift the entire industry
10      around us.      And we believe that that not only protects
11      our consumers, but also provides benefits to creators
12      of branded product everywhere.
13                  MS. DUVDEVANI:      Q.    What's your factual basis
14      to testify under oath that you've made it more
15      difficult for bad actors to exist when you've offered
16      bad actors a platform with which to sell counterfeit
17      products?
18                  MS. BANNIGAN:     Objection to form.
19                  THE WITNESS:     Well, I think that the way that
20      you said that was, if not completely opposite of the
21      truth, pretty close.
22                  MS. DUVDEVANI:      Q.    How so?
23                  Let me ask you this, Mr. Huber:                 Your -- your
24      authenticators claim to stop thousands of fake
25      products from getting to consumers a month; correct?

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1       other marketplaces felt competitive pressure to also
2       create these types of services for their customers.
3            Q      Has there been a decrease in the number of
4       fake products that are sent to authentication centers
5       over the years or an increase in the number of
6       products that are sent to authentication centers over
7       the years?
8                   MS. BANNIGAN:     Objection to form.
9                   THE WITNESS:     So, you know, I -- I'd prefer
10      to look at specific documents that -- that may -- to
11      the extent we've produced them, that may quantify the
12      specifics.
13                  However, at the very least, anecdotally, to
14      my knowledge, we originally saw a higher percentage of
15      fakes coming through our platform as -- or -- sorry --
16      not fakes -- items that appeared to be inauthentic, as
17      fraudsters initially tested the quality of our
18      authentication and verification process in the early
19      days of the StockX platform.
20                  However, we have policies in place that
21      punish and ban sellers who attempt to not uphold their
22      end of the sales contract:            either not shipping it to
23      us, shipping the wrong item, shipping the wrong size,
24      shipping it used, shipping without accessories,
25      shipping it with a missing or damaged box, shipping a

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1       product that has significant variances, so as to raise
2       suspicion of our authentication process.
3                    And -- and so we -- by punishing these
4       sellers through penalty fees, through outright
5       banning, it has become a less -- we have become a less
6       desirable avenue.
7                    MS. DUVDEVANI:     Q.    Isn't it possible that
8       the sellers of counterfeit products have just gotten
9       more sophisticated, and you don't know --
10                   MS. BANNIGAN:     Objection --
11                   MS. DUVDEVANI:     Q.    -- that additional fakes
12      are being passed through your platform?
13                   MS. BANNIGAN:     Objection to form.
14                   THE WITNESS:     We have the utmost confidence
15      in our authentication process:               the way it's been
16      designed, the way that our team members that work in
17      the authentication centers are trained, from the
18                  training window that they're required to
19      complete in order to become a lane one authenticator,
20      to the stand -- the weekly standup meetings, to the
21      weekly/biweekly bulletins we post, to the standard
22      guides that we provide around many brands of product
23      that we authenticate and verify, across the many
24      categories that we authenticate and verify.
25                   We do recognize that the folks who have

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1       anyone doing this prior to our success in removing
2       some of the friction points around purchasing the --
3       the items in the categories in which we transact.
4                   And because we've started doing it, and
5       because we took a stand against unverified product,
6       many other competitors have joined our industry in the
7       secondary market and attempted to replicate our
8       authentication and verification process and have their
9       own authentication and verification processes.
10           Q      Is authentication important to your
11      consumers?
12           A      It is very important to the experience that
13      every item that transacts on our platform go through
14      our authentication and verification process to correct
15      for the potential areas of disappointment for a buyer:
16      wrong size, wrong color, wrong product, missing
17      accessories, damaged, manufacturing defect, other
18      variances.      And we correct for those before the buyer
19      takes receipt of the product.
20                  And that is one of the main -- one of the key
21      reasons why you would transact on StockX as opposed to
22      in person at your local mall parking lot or on another
23      platform that does not have the same commitment to
24      authentication and verification.
25           Q      And underneath that bullet point, it says:

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1                   (As read):
2                   "Proven in-house authentication process has
3       an accuracy rate of 99.95%."
4                   How is that percentage calculated?
5            A      That particular stat is based on customers'
6       feedback.
7            Q      What type of customer feedback?
8            A      If a customer contacts our customer service
9       with an issue, and we are able to validate their
10      issue, we take that item back as a return.                    We refund
11      them their money.
12                  And we record that our authentication and
13      verification process made a mistake, and that would be
14      eliminated from that -- the number of mistakes would
15      be eliminated from the numerator.                   The number that was
16      correct would be the numerator, and we would divide it
17      by the total transactions that we saw, and that would
18      give you that rate.
19           Q      Any other data that goes into that
20      99.95 percent accuracy rate?
21           A      That particular stat is calculated only in
22      the way I've just described it.
23                  MS. DUVDEVANI:      Okay.      Let's take a break.              I
24      might be done.
25                  MS. BANNIGAN:     Okay.

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